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IN THE UNITED STATES DISTRICT COURT Lua
FOR THE NORTHERN DISTRICT OF TEXAS 2779 1 9 ny 994
DALLAS DIVISION se

FISSEHA GEZU,
Plaintiff,

v.

CIVIL ACTION NO.
B-Z2OCVI476-G

CHARTER COMMUNICATIONS,

Defendant.

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PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:
PARTIES, JURISDICTION, AND VENUE

1. Plaintiff Fisseha Gezu is an individual who resides in Dallas County, Texas.

2. Defendant Charter Communications is a Delaware corporation with its principal place of
business in St. Louis, Missouri. Defendant may be served through serving its Garland’s
place of business at 934 East Centerville Road, Garland, TX 75041 or its registered agent
for service of process in Texas, Corporation Service Company d/b/a CSC — Lawyers Inco
at the following address: 211 E. 7th Street, Suite 620, Austin, Texas 78701.

3. Defendant is an employer within the meaning of Title VII of the Civil Rights Act of
1964, as amended, 42 U.S.C. § 2000e, et seq., and the Civil Rights Act of 1866, as
amended, 42 U.S.C. § 1981.

4. This Court has jurisdiction to hear the merits of the claims under 28 U.S.C. § 1331.

5. Venue is proper in the district and division under 28 U.S.C. § 1391(b).

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I. FACTUAL BACKGROUND

6. I first began working for Time Warner Cable now named Charter Communications
(“Charter” or “Company”) on or about December 7, 2007.

7. For the duration of my employment, I always gave my best efforts to the company and its
customers.

8. I had every intention of being able to work for Charter through the time of my retirement.

9. Unfortunately, Charter and its employees harbored a discriminatory environment.

10. Charter treated me differently than similarly situated employees based on my race and
national origin.

11. I was referred to as an immigrant in meetings and was often subjected to defamatory and
derogatory bullying, stereotyping, belittling, name calling, racist noises, gestures and
insults with anti-immigrant sentiments.

12. Moreover, I was denied promotions due to my race and national origin.

13. However, employees who had significantly less experience, less education and seniority
were promoted over me.

14. On or about March 1, 2018, I made a complaint to my supervisor, Jason Ashcraft, and
other employees regarding the stereotyping, belittling, name calling, racist noises,
gestures and insults.

15. However, Charter failed to investigate and to take prompt remedial action.

16. On or about April 17, 2018, at the beginning of a safety presentation, I made a public
complaint concerning the discrimination and harassment I was experiencing in the

workplace.

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PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND Page 2

 
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17. Several managers, including Human Resources, were present for my presentation and
became well aware of both my concerns and complaint.

18. Instead of investigating and taking prompt remedial action, my manager, Rip Bollman,
confronted me concerning my safety presentation.

19. Unfortunately, Charter continued to discriminate and harass me through mocking and
inappropriate comments.

20. For instance, at the Company’s Christmas Party on December 19, 2018, Ricardo Valierra
stated, “I’m going to give you a shitty one” as I was in line to get food.

21. Many employees overheard Mr. Valierra’s unacceptable comment.

22. This was one of many examples of how I was treated differently than other employees.

23. Another example is when I was given a final warning for conduct for which no other
employee was reprimanded.

24. A few days later, I sent an email to Human Resources Vickie Legros to report
discrimination and requested that my final warning be reconsidered.

25. On or about March 3, 2019, I asked Mr. Ashcraft if he had written up any other
technicians for meter usage. Mr. Ashcraft responded, “You are the only person who have
gotten written up for meter usage.”

26. On or about March 10, 2019, Curtis Byran informed me to complete a job using no
problem found code. The reason why Mr. Bryan wanted the job complete it with no-
problem found code is because it was affecting his team’s metrics.

27. About a week later, Mr. Ashcraft messaged me to cancel another job. The reason for the
cancellation request is because Supervisor Rusty Mercier did not want his team’s metrics
affected.

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PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND Page 3

 
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28. Cancelling jobs affect my performance ratings and reflects low productivity because I do
not get the production points needed to be more productive.

29. I was terminated for a pretextual reason on or about May 8, 2019.

30. The stated reason for my termination was marking down jobs as complete with no-
problem found code when it should have been completed with a fix code.

31. However, I did exactly what a supervisor (Curtis Bryan) had told me to do when
instructing me how to complete the jobs.

32. Additionally, other similarly situated employees have done the same thing but were not
terminated.

33. The real reason for my termination is race and national origin discrimination and
retaliation.

34.1 filed an EEOC charge on or about July 18, 2019.

35. I received a Notice of Right to Sue from the EEOC on 3-11-2020.

36. I have exhausted all administrative remedies prior to filing suit.

IL. CAUSES OF ACTION
A. Race Discrimination in Violation of Title VII and Section 1981.

37. Plaintiff re-alleges and incorporates the allegations contained in the above paragraphs as
if fully stated herein.

38. As described above, Defendant's actions constitute unlawful discrimination on the basis
of Plaintiff's race in violation of 42 U.S.C. §2000e-2(a) and 42 U.S.C. § 1981. The
employment practices complained of above were intentional.

39. Plaintiff has satisfied all jurisdictional prerequisites in connection with my claims under

Title VII and § 1981.

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PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND Page 4
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40. As a result of Defendant's unlawful discrimination, Plaintiff has suffered and expects to
suffer pecuniary losses, including but not limited to lost wages and other benefits
associated with his employment.

41. As a result of Defendant’s discrimination, Plaintiff has suffered non-pecuniary losses
including, but not limited to emotional pain, suffering, inconvenience, personal
humiliation, mental anguish, loss of enjoyment of life, and other non-pecuniary damages.

42. Defendant acted at all relevant times with malice and/or reckless indifference to
Plaintiffs federally protected rights. Plaintiff therefore seeks punitive damages under 42
U.S.C. §§ 1981 and 1981a.

43. Additionally, Plaintiff seeks any and all equitable relief necessary.

44. Defendant's actions referenced above have caused Plaintiff to retain the services of the
counsel in order to pursue my federal rights in this process. Consequently, Plaintiff seeks
attorneys’ fees, expert costs, and other costs of suit under 42 U.S.C. § 1981 and 42 U.S.C.
§ 2000e-5(k).

B. National Origin Discrimination in Violation of Title VII and Section 1981.

45. Plaintiff re-alleges and incorporates the allegations contained in the above paragraphs as
if fully stated herein.

46. As described above, Defendant's actions constitute unlawful discrimination on the basis
of Plaintiff's national origin in violation of 42 U.S.C. §2000e-2(a) and 42 U.S.C. § 1981.
The employment practices complained of above were intentional.

47. Plaintiff has satisfied all jurisdictional prerequisites in connection with his claims under

Title VII and § 1981.

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PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND Page 5
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48. As a result of Defendant's unlawful discrimination, Plaintiff has suffered and expects to
suffer pecuniary losses, including but not limited to lost wages and other benefits
associated with his employment.

49. As a result of Defendant’s discrimination, Plaintiff has suffered non-pecuniary losses
including, but not limited to emotional pain, suffering, inconvenience, personal
humiliation, mental anguish, loss of enjoyment of life, and other non-pecuniary damages.

50. Defendant acted at all relevant times with malice and/or reckless indifference to
Plaintiff's federally protected rights. Plaintiff therefore seeks punitive damages under 42
U.S.C. §§ 1981 and 1981a.

51. Additionally, Plaintiff seeks any and all equitable relief necessary.

52. Defendant's actions referenced above have caused Plaintiff to retain the services of the
counsel in order to pursue my federal rights in this process. Consequently, Plaintiff seeks
attomeys’ fees, expert costs, and other costs of suit under 42 U.S.C. § 1981 and 42 U.S.C.
§ 2000e-5(k).

C. Retaliation in Violation of Title VII and Section 1981.

53. Plaintiff re-alleges and incorporates the allegations contained in the above paragraphs as
if fully stated herein.

54. Plaintiff engaged in protected activity when he complained of race discrimination and
hostile work environment.

55. Defendant’s actions, terminating Plaintiff, were undertaken because of Plaintiff's
complaints of discrimination.

56. Defendant’s actions were intentional and done with malice or reckless disregard.

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PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND Page 6
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57. Because of these actions, Plaintiff suffered damages within the jurisdictional limits of this

court.

58. I hereby make a demand for a trial by jury on all issues, claims and defenses in this

action.
IV. PRAYER

59. WHEREFORE, Plaintiff Fisseha Gezu, respectfully requests that the above-named

Defendant be cited to appear in this matter and that, after jury trial by proof, be awarded:

i. Judgment against Defendant for compensatory damages including emotional pain,
suffering, inconvenience, mental anguish, and loss of enjoyment of life;

ii. Actual damages; and punitive damages;

iii. Judgment against Defendant for Plaintiff's reasonable attorneys’ and experts’ fees, and
costs of suit;

iv. Prejudgment and post-judgment interest as allowed by law; and

v. Such other and further legal and/or equitable relief to which Plaintiff may be justly

entitled.

Respectfully submitted,

@-G- Qo
Fisseha Gezu
5805 Sandhurst Ln Unit A
Dallas, TX 75206
214-552-8143

Fisseha.gezu@att.net

Ii. SURY DEMAND

 

PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND Page 7
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L (a) PLAINTIFFS
Fisseha Gezu

(b) County of Residence of First Listed Plaintiff Dallas
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

DEFENDANTS
Charter Communications

  

 

 

| COURT

 

 

 
 

II. BASIS OF JURISDICTION (Pisce an “X” in One Box Only) IIL CITIZENSHIP OF PRINCH a for Plaintiff
(For Diversity Cases Only) and One Bax for Defend)
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Plaintiff (US. Government Not a Party) Citizen of This State CK 1 «= MK 1s Incorporated or Principal Place sl 4 a4
of Business In This State
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Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
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COMPLAINT: UNDER RULE 23-FRGoP- JURY DEMAND: J Yes [No
VIII. RELATED CASE(S) ;
IF ANY ee * JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
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